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                Exhibit A
              Rule 65(B) Certification
          Case 2:22-cv-00612-CDS-EJY Document 2-3 Filed 04/13/22 Page 2 of 4




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 3
     SECURITIES AND EXCHANGE COMMISSION
 4
     351 South West Temple, Suite 6.100
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     Fax: (801) 524-3558
 6
                               UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF NEVADA

 8
     SECURITIES AND EXCHANGE                       Case No.: 2:22-cv-00612
 9   COMMISSION,
                                                   RULE 65(B) CERTIFICATION IN
10                Plaintiff,                       SUPPORT OF PLAINTIFF
           vs.                                     SECURITIES AND EXCHANGE
11                                                 COMMISSION’S EX PARTE
     MATTHEW WADE BEASLEY; BEASLEY                 APPLICATION FOR ENTRY OF
12
     LAW GROUP PC; JEFFREY J. JUDD;                TEMPORARY RESTRAINING ORDER
13
     CHRISTOPHER R. HUMPHRIES; J&J                 AND ORDERS: (1) FREEZING
     CONSULTING SERVICES, INC., an Alaska          ASSETS; (2) REQUIRING
14   Corporation; J&J CONSULTING                   ACCOUNTINGS; (3) PROHIBITING
     SERVICES, INC., a Nevada Corporation; J       THE DESTRUCTION OF
15   AND J PURCHASING LLC; SHANE M.                DOCUMENTS; (4) GRANTING
     JAGER; JASON M. JONGEWARD; DENNY              EXPEDITED DISCOVERY; AND (5)
16   SEYBERT; and ROLAND TANNER;                   ORDER TO SHOW CAUSE RE
                                                   PRELIMINARY INJUNCTION
17               Defendants,
18   THE JUDD IRREVOCABLE TRUST; PAJ
     CONSULTING INC; BJ HOLDINGS LLC;
19   STIRLING CONSULTING, L.L.C.; CJ
     INVESTMENTS, LLC; JL2
20   INVESTMENTS, LLC; ROCKING HORSE
     PROPERTIES, LLC; TRIPLE THREAT
21   BASKETBALL, LLC; ACAC LLC;
     ANTHONY MICHAEL ALBERTO, JR.; and
22
     MONTY CREW LLC;
23
                 Relief Defendants.
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 1          Tracy S. Combs, being sworn on oath, deposes and states that if called upon to do so, she
 2   could competently and truthfully testify as follows:
 3          1.      I am a Trial Counsel employed by the United States Securities and Exchange
 4   Commission in the Salt Lake Regional Office, located at 351 S. West Temple Street, Salt Lake
 5   City, Utah, 84101. I am a resident of Utah and licensed to practice law in California, New York,
 6   and Pennsylvania.
 7          2.      This certification is based upon specific facts contained in the Commission’s
 8   Complaint and Ex Parte Application the accompanying brief, declarations and exhibits filed
 9   contemporaneously therewith. These submissions demonstrate that the Commission has made a
10   prima facie showing that Defendants have participated in a securities investment fraud that
11   violates the federal securities laws.
12          3.      The Commission maintains that ex parte relief is appropriate in this matter. First,
13   proceeding on an ex parte basis is warranted to increase the likelihood of freezing—and
14   ultimately recovering—investor money or other assets in Defendants’ and Relief Defendants’

15   possession, custody and control. Second, it will help secure, and prevent destruction of,

16   documents or other evidence of Defendants’ scheme. If Defendants are given advance notice

17   that the Commission is seeking emergency relief, they may dissipate any remaining assets and

18   destroy documents and evidence.

19          4.      Accordingly, for the reasons set forth above and in the Commission’s supporting

20   documents filed contemporaneously herewith, immediate and irreparable harm will result to the

21   Commission and to at least one investor in the scheme unless this matter is heard ex parte. For

22   these reasons, the undersigned counsel has not attempted to give advance notice to the

23   Defendants or Relief Defendants, which advance notice should be excused in light of

24   circumstances present.

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 1   Dated: April 12, 2022               Respectfully submitted,
 2

 3                                       _/s/ Tracy S. Combs________________________
                                         Tracy S. Combs (combst@sec.gov)
 4
                                         Attorney for Plaintiff
 5                                       SECURITIES AND EXCHANGE COMMISSION

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